Case: 1:22-cr-00050-SNLJ-ACL Doc. #: 2 Filed: 05/03/22 Page: 1 of 1 PageID #: 3

                                                                                           FILED ·
                        IN THE UNITED STATES DISTRICT COURT                             MAY O3 2022
                       FOR THE EASTERN DISTRICT OF MISSOURI                            U. S. DISTRICT COURT
                               SOUTHEASTERN DIVISION                                 EASTERN DISTRICT Of MO
                                                                                        CAPE GIRARDEAU ·

UNITED STATES OF AMERIC~                      )
                                              )
                      . Plaintiff,            )                   1:22CR00050 SNLJ/ACL                        /

                                              )
VS.                                           )      Case No.
                                              )
JESSIE DWAYNE ALVEY,                          )      Title 18, U.S.C. § 922(g)(l)
                                              )
                       Defendant.             )

                                        INDICTMENT

       THE GRAND JURY CHARGES THAT:

       On or about February 16, 2022, in Butler County, Missouri, within the Southeastern

Division of the Eastern District of Missouri, Jessie Dwayne Alvey; the defendant herein,

knowingly possessed a firearm, knowing he had previously been convicted in a court of law of\

one or more crimes punishable by a term of imprisonment exceeding one year, and the firearm

previously traveled in international or interstate commerce during or prior to being in defendant's

possession. In violation of Title 18, United States Code, Section 922(g)(l ), and punishable under

Title 18, United States Code, Section 924(a)(2).

                                             A TRUE BILL


                                             Foreperson
SAYLER A. FLEMING
United States Attorney


Tim J. Willis, # 62428MO
Xssistant United States Attorney
